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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )                SEALED
                                        )           4:04CR3061
           Plaintiff,                   )           4:05CR3017
                                        )           4:06CR3075
     vs.                                )
                                        )               MEMORANDUM
KENNETH SLOMINSKI,                      )               AND ORDER
                                        )
           Defendant.                   )

     The Court has been advised that the defendant requests permission
to enter a plea of guilty. The Court is further advised that the
defendant will consent to Judge Piester conducting the hearing on the
plea of guilty.

     IT IS ORDERED that:

     The oral motion of defendant is granted and,

     1.    This case, insofar as it concerns this defendant, is removed
           from the trial docket based upon the request of the
           defendant.

     2.    A hearing on the defendant’s anticipated plea of guilty is
           scheduled before Magistrate Judge Piester on the 19th day of
           December, 2006, at the hour of 2:00 p.m., in Courtroom No. 2,
           United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska.

     3.    On or before the date set for the plea proceeding, counsel
           for plaintiff and for defendant shall provide to the assigned
           probation officer their respective versions of the offense
           for purposes of preparing the presentence investigation
           report.

     4.    The ends of justice will be served by granting such a motion,
           and outweigh the interests of the public and the defendant in
           a speedy trial, and the additional time arising as a result
           of the granting of the motion, the time between today’s date
           and the anticipated plea of guilty, shall be deemed
           excludable time in any computation of time under the
           requirements of the Speedy Trial Act, for the reason that
           defendant’s counsel requires additional time to adequately
           prepare the case, taking into consideration due diligence of
           counsel, the novelty and complexity of the case, and the fact
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       that the failure to grant additional time might result in a
       miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

 5.    Defendant shall appear for this hearing.

 6.    This order shall be filed under seal.


 DATED: December 5, 2007.

                                     BY THE COURT:


                                     s/   David L. Piester
                                     United States Magistrate Judge




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